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                       More Definite Statement
Willie Lee HavMmeri,
Plaintiff
vs.
Methodist Health Systems,
Defendant

Case No. 3:22-cv-00594-E-BT



Where is my Incident Report?
I find it a both ironic and extreme sad that I would ultimately be FIRED by powerful women in positions
of Authority simply for trying to have Gender Discrimination investigated.




Introduction
Before I start, a disclaimer is necessary.

I, Willie HavMmeri, am not a lawyer nor do I have any expertise in the many facets of employment law.
These are extremely difficult times. I ask the court and Methodist’s legal team to please be both patient
and understanding of my position during these judicial proceedings. I thank you in advance.

I would also like to ask, once I have secured the services of a competent legal team that I am allowed the
discretion to revise, further detail or add upon my claim in its entirety.

My Complete Case to Present to the Court:
What should I, as an employee, have done differently?

My case is a simple one. I believe it to be simple to prove and simple to render in judgement.

Upon reading the MHS Legal Team’s detailed request for a more definitive statement, I now understand
that, legally, my facts must be in order and there are no excuses made or sympathy given for the fact
that I am currently representing myself “pro se”.

Unfortunately, again, I am no lawyer. My legal jargon and expertise are quite limited in that regard. My
apologies again for speaking in such laymen terms in the following summation, but here’s my case as I
personally understand it to be.

        I arrive at work on March 10th 2020 to start my shift at 0800. A young lady was sitting at my
        assigned workstation where I am to use my workstation phone to clock in to start my shift. (See
        Exhibit 10) I asked her for my desk to phone in to start my shift (By Policy, this is the only
        method for me to clock in or out for a work shift). She refused to allow me my assigned

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    workstation. After repeated pleas for my workstation to start my shift, I was cursed out by the
    young lady, belittled and disrespected much to my dismay.

    Knowing this young lady had no legitimate reason to be in my office nor at my workstation
    (being a third (3) worker in a two (2) person work environment), I was reluctant to speak on the
    humiliating matter to my Director of Cardiology because the young lady in question was a
    personal hire of hers and was ultimately in the workplace to serve in an unofficial manner as a
    “personal assistant” to Said Director.

    After a week of contemplation on the matter, I decided on March 17th 2020 to email my
    Director, detailing my frustration with a long history of personal, perceived instances of
    workplace violence (examples of female staff cursing me out, belittling and gossiping about me).
    I detailed in the email that the problem associated with being cursed out on this particular day
    (March 10th 2020) was not simply that female staffers were allowed to belittle me with no
    consequence throughout the years but also that this current act was a result of her (the
    Director) maintaining 3 workers in a 2 person office with only 2 workstations assigned to the 2
    full-time staffers (myself being one).

    I informed my Director that she herself had also engaged in the toxic, workplace violence and
    gave her examples of routinely threatening to fire me in front of the very female staffers who
    belittled me regularly.

    I informed my Director in the email that the fear of her terminating my employment and the
    persistent workplace violence created a toxic workspace for me and had negative effects on my
    health, as sited in the initial email regarding my blood pressure being at stroke levels due to the
    anxiety I was facing at my workstation for years.

    This is all documented in an email presented as evidence below (Exhibit 1) and is not a point of
    contention, at least I do not believe.

    I informed the Director that because of her close, personal relationship with the female staffer
    in question who cursed me out on March 10th 2020 and the fact that the young lady had no
    particular right to be at my workstation nor a defined role hovering around our department for
    8 to 12 hours on a given day, that I wanted to speak to her immediate supervisor (VP of Nursing)
    with my HR Rep present. I wished to have an investigation opened into my Director’s hand in
    maintaining a 3 person workspace despite their only being 2 workstations.

    This was discrimination because I, being the only male in my department, was not allowed to
    receive these additional hours with no defined role and, at the time of my termination, I worked
    at 3 different Methodist Hospitals simultaneously to get my allotted full-time hours.

    (Methodist Dallas, Methodist Plano & Methodist Charlton)

    Female employees were allowed to pick up extra hours as a “personal assistant” to the Director
    or even help the Department Secretary file paperwork after their shifts ended to get additional
    hours. I, being the only male in my immediate department, was not privy to such additional
    hours.



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        Deals were made between my Director and another female department Director for one young
        lady to work 2 days in one department and one day in our department as my Director’s
        “personal assistant” despite the fact that there were no readily available hours for the worker,
        no workstation for the worker and no defined role as the worker, who worked exclusively in my
        2 person workspace causing years of frustrations, which I repeatedly shared with my Director.

        (I was a 36 hour per week employee and only had 31 hours per week allotted to me.)

        I informed my Director that I had no confidence in her handling of the matter and sited to her
        that I had informed her of plenty instances where I was belittled, cursed out, humiliated and
        witnessed female workers effectively stealing time and nothing was ever done about it.

        While my Director assured me via email reply that I would be granted an audience with her
        immediate supervisor with my HR rep present (as I requested), I was instead summoned to HR
        to meet with an Acting Investigator on April 7th 2020 at the behest of my Director and
        subsequently fired for stealing time on April 10th 2020 being, again summoned, from home to
        HR to hear what was to be the conclusion of the investigation into my grievance.

        For the record, there is no evidence that I ever had a grievance investigated from MHS. (Siting
        Policy on Incident Reports)

        For the record, my Director was never removed from the work environment while my
        allegations against her were properly investigated. (Suspension, pending investigation and
        review, Exhibit 5). Because my Director was not suspended and removed from the work
        environment, she was allowed to dictate and manipulate the direction of the investigation. My
        Director personally called me to inform me I was needed in HR regarding my grievance.

        For the record, my Director (despite claiming no participation in regard to an investigation which
        led to my termination) participated fully in the Unemployment Appeals Case with the TWC for
        Wrongful Termination (December 2020).

        For the record, the young lady that initially cursed me out on March 10th 2020 never received
        any disciplinary action and was PROMOTED to my position upon my termination.

        All above are just the FACTS.

In conclusion, I kept my mouth shut. I adhered to “chain of command” communication policy. I did not
speak to staff regarding my case. I waited patiently for the parties I requested and gathered my
evidence in a folder in my locker.

Again, I would like to ask Methodist:

WHAT SHOULD I HAVE DONE DIFFERENTLY?




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Charge 1: Wrongful Termination due to Retaliation; Charge 2: Discrimination

Section 161.134 (statues.capitol.texas.gov) states that: RETALIATION AGAINST EMPLOYEES PROHIBITED

    (a) A hospital, mental health facility or treatment facility may
        not suspend or terminate the employment of or discipline
        or otherwise discriminate against an employee for
        reporting to the employee’s supervisor… a violation of law,
        including this chapter, a rule adopted under this chapter
        or a rule of another agency,
    (b) A hospital… that violates subsection (a) is liable to the
        discriminated person
    (c) A plaintiff who prevails in a suit under this section may
        recover actual damages, including damages for mental
        anguish even if an injury other than mental anguish is not
        shown.
    (d) In addition to an award under subsection (c) a plaintiff
        who prevails in a suit under this section may recover
        exemplary damages and reasonable attorney fees.
    (e) In addition to amounts recovered under subsections (c)
        and (d), a plaintiff is entitled to, if applicable:
        1. Reinstatement in the plaintiff’s former position;
        2. Compensation for lost wages; and
        3. Reinstatement of lost fringe benefits or seniority
            rights.
    (f) A plaintiff suing under this section has the burden of
        proof, EXCEPT that it is a rebuttable presumption that the
        plaintiff’s employment was suspended or terminated, or
        that the employee was disciplined or discriminated
        against, for making a report related to a violation if the suspension, termination, discipline, or
        discrimination occurs BEFORE the 60th day AFTER the date on which the plaintiff MADE A
        REPORT IN GOOD FAITH.

(I was fired 24 days after my initial claim of discrimination/workplace violence and gender bias.)

The Fair Labor Standards Act (FLSA)
Section 15(a)(3) of the FLSA states that it is a violation for any person to “discharge or in any other
manner discriminate against any employee because such employee has filed any complaint or instituted
or caused to be instituted any proceeding under or related to this Act, or has testified or is about to
testify in any such proceeding, or has served or is about to serve on an industry committee.

Employees are protected regardless of whether the complaint is made orally or in writing. Complaints
made to the Wage and Hour Division are protected and most courts have ruled that INTERNAL
COMPLAINTS TO AN EMPLOYER ARE ALSO PROTECTED.




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            Requirements for a Retaliation Complaint
            Protected Activity
            Employer Adverse Action

            Texas Labor Code Chapter 21, Title VII of the
            Civil Rights Act protect individuals from
            retaliation. An employer MAY NOT fire,
            demote, harass or otherwise retaliate against
            an individual for submitting a complaint of
            discrimination, participating in a
            discrimination proceeding or otherwise
            opposing discrimination. The law applies to
            private employers with 15 or more employees
            and to all state and local governmental
            entities no matter how many employees they
            have.

            Requirements for a Retaliation Complaint
            Your retaliation discrimination complaint must
            show that you engaged in a protected activity,
            your employer took an adverse action and
            there was a direct connection between the
            protected activity and the adverse action.

            What is a Protected Activity
            Protected activities include submitting,
            assisting with or participating in the
            investigation of an employment
            discrimination complaint based on race, color, national origin, religion, SEX, age or disability.

            Employer Adverse Action
            An adverse action is when an employer tries to stop someone from participating in a
            protected activity. Examples of adverse actions include:

                •   Termination
                •   Refusal to hire
                •   Denial of promotion
                •   Threats
                •   Unjustified negative evaluations or references



By sending my Director an email on March 17th 2020 detailing a long history of harassment,
discrimination, threats and workplace violence, I believe I presented a strong case for Wrongful
Termination due to retaliation and discrimination.


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Summary of events
(March 10th 2020 – April 10th 2020)

On March 10th 2020, upon arriving to work I, Willie HavMmeri, experienced an event that compelled me
to file a grievance with my employer.

This grievance was a formal complaint filed with my immediate supervisor on March 17th 2020.
{See exhibit 1 below}

On March 29th 2020 (a Sunday) V. Marks (Lead Investigator) began an investigation which led to my
termination for manipulation of financial documents. (I only became aware of this start date during the
TWC Unemployment Appeal Case in December of 2020).

On April 7th 2020, I was called on my hospital issued phone by my Director (R.Pegram) and told the
parties I requested weeks earlier were ready to meet with me and to head down to Human Resources to
begin the investigation into my grievance. Upon arriving at HR at 1300 on April 7th, I was met by the
Director of HR, V. Marks, along with my HR Rep (P. Aguilar). After inquiring as to why I wasn’t granted
an audience with my Director’s supervisor (A. Herrera), I was told by V. Marks that she would be
investigating my claims and to have faith in her to due a thorough job. I explained my position on the
workplace violence I experienced on March 10th 2020 and informed V. Marks that it was simply the
latest occurrence in a long and storied history of similar circumstances in my immediate work
environment. V. Marks promised that she would THEN meet with the parties involved, investigate my
claims of 3 workers working in a 2 person work space and wrap up her investigation, no later than 3 days
from this April 7th 2020 start date. This confused me because it was only 3 days away at the time but I
took her at her word and trusted in her professionalism with the process.

On April 10th 2020, I was summoned to my place of employment being told I would hear the results of
the investigation into my grievance only to find out that I, in fact, was the subject of a covert
investigation and subsequently fired for stealing time.
{See exhibit 2 below}

While unaware that I was in the process of being fired, I gave irrefutable evidence in person to explain
that the allegations against me for stealing time (manipulation of financial documents) was false OR AT
THE VERY LEAST, required further investigation.
{See exhibit 2 below}

Despite my evidence, Methodist Health Systems (MHS) pressured me to sign a pre-written termination
letter with no representation and would not allow me to return to my workstation and retrieve a folder
with all my evidence. A week later, post termination, I was summoned to Human Resources to retrieve
the contents of my locker and seating area. My evidence folder was missing from my box of belongings.



MHS Policy Violations
Policy on workplace violence/ Disruptive Practitioner
{See exhibit 3 below – marked 7.5.2}


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Methodist policy on workplace violence by an employee (referred to in policy as a “Disruptive
Practitioner”) states that threatening or abusive language, actions or gestures along with profanity,
harassment and degrading/demeaning comments regarding a person or the hospital are actions that
require correction/discipline.

I reported in my initial complaint persistent workplace violence as examples of my director and staff
engaging in threats, gossip/slander, profanity laced tantrums as well as my director repeatedly
threatening to fire me in the presence of staff.

Policy on Investigating an employee’s claim of workplace misconduct against a supervisor or director
{See exhibit 3 below – marked 7.5.3}

Methodist policy states that an employee of the hospital who observes or is subjected to conduct of a
disruptive practitioner shall immediately notify their supervisor (in my case, my Department Director –
R. Pegram), Human Resources, Medical Staff Officer *or* the Vice President (in my case Vice President
of Nursing and direct boss for my director, a man named Arturo Herrera, whom I asked to lead my
investigation into my grievance).

Not only did I not receive the Vice President with whom I asked to lead the investigation into my claims,
the person chosen to investigate my claim by my director (who was the primary subject of my initial
grievance) was engaging in a covert investigation into me and had met, on record, with several of the
staff in my department to gather evidence and statements to terminate my employment before I was
sat down to discuss my claims against the department.

Policy on documenting an employee’s grievance (Incident Report)
{See exhibit 3 below marked (2) under “Reporting the Incident” 7.5.3.1}

Methodist policy states that: If unable to resolve through communication, request that the individual
reporting the incident document it in writing by completing the *Medical Staff Incident Report*. The
Incident Report must be signed by the complainant.

There is no Incident Report because the Director who interviewed me on my claims (V. Marks) did not
suggest I document our exchange. There is no Incident Report of my complaint which is a clear violation
of Methodist Policy on such exchanges when reporting workplace violence.

Policy on whistleblower protection / retaliation
{See exhibit 4 below}

Methodist policy on Fraud and Abuse states: Methodist Health System takes health care fraud and
abuse very seriously. It is Methodist’s policy to provide information to all employees, contractors, and
agents about the federal and state false claims laws, penalties available under these laws, and *the
whistleblower protections available* under these laws.

Methodist failed to inform me of these whistleblower protections nor did Methodist provide me (the
complainant) with any such protections from retaliation.

At this point in the contesting of my wrongful termination suit, it should be obvious to the court that
Methodist maintains the position that my grievances did not deserve such protections, ignoring my
initial complaint and still maintaining that my termination was justified.


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I would like to take a second to state, for this record, that with the evidence of my initial grievance (see
exhibit 1) and the timing of my termination, this is clearly retaliatory in nature and the attempt by
powerful directors in positions of authority to silence me before I could put an Incident Report on record
with the company.

Policy on suspension, pending investigation and review
{See exhibit 5 below}

Methodist policy on Suspension, Pending Investigation and Review states: Employees believed to have
engaged in conduct warranting termination of employment are placed on suspension pending
investigation and review. Not to be confused with a disciplinary suspension, the investigative
suspension allows management a reasonable period of time to investigate the alleged infraction and
review with the appropriate Medical Officers or designee, prior to taking disciplinary action. If after full
consideration of the matter, disciplinary action is not taken, the employee will be *immediately
returned to work* without loss of pay due to the investigative suspension.


This policy must be examined two (2) ways.

    1. Renee Pegram (Director of Cardiology, my direct boss) was told that I believed she openly
       fostered a toxic work environment which gave preferential treatment to several women in the
       form of additional hours, additional shifts under the guise of “personal assistant”, a lack of
       disciplinary actions for women who engaged in workplace violence and that she herself did
       similar actions deserving discipline such as, taunting, bullying and threats of termination usually
       in the presence of the female staff towards me.

        I asked R. Pegram to speak with her immediate supervisor Arturo Herrera (VP of Nursing)
        regarding my complaint. This audience was never granted. Instead, I was granted an audience
        with Val Marks (Director of Human Resources) and Renee Pegram was never SUSPENDED,
        PENDING INVESTIGATION AND REVIEW, as MHS Policy dictates.

        By R. Pegram remaining directly involved and still in the work environment, she actively
        participated in my termination. R. Pegram summoned me to HR on April 7th 2020 to speak with
        V. Marks regarding my claims. I would like to note again, I did not ask for V. Marks, I asked for R.
        Pegram’s immediate boss. V. Marks met with me on April 7th 2020 and did not inform me that I
        was being actively investigated at the same time. (See Exhibit 7)

        (Additional evidence of a simultaneous investigation seeking grounds to terminate my
        employment can, and will, be provided as the case moves forward.)

        V. Marks never asked me to email her a statement. I personally took her business card off her
        desk and took it upon myself to send her a follow up email with further details into my
        grievance because, while she was extremely polite during our sit down, she was quite dismissive
        and wanted to focus solely on the March 7th 2020 instance of workplace violence and ignore the
        Director’s involvement in the circumstances that created the unfortunate confrontation.



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    If I did not take V. Marks’ card off her desk, I would not have any official position on record and
    she never asked me to send her one.

    I believe that if R. Pegram was removed from the workplace while an investigation into my
    claims were conducted, I would still have my job and Methodist would not be in this position
    today. I believe that had the Directors in question adhered to policy, I would have been
    protected and not vilified for having the courage to speak out. R. Pegram participated in the
    Texas Workforce Commission’s Unemployment Appeal Hearing, despite maintaining she was
    not involved in the investigation which led to my termination.

 2. I, Willie HavMmeri, was not suspended pending investigation and review by the policy MHS had
    in place.

    While going over MHS policy after my unceremonious and rather humiliating departure, under
    the policy regarding “immediately terminable offenses” it is listed that Falsification of Financial
    Documents is, in fact, one such offense. For the record, I would like to state that MHS has never
    proven that I falsified or manipulated any financial documents while clocking in or out from
    work. The only financial questions asked by MHS during their clocking system was an
    automated inquiry “Did you receive a lunch break today, type 1 for yes, 2 for no.” (To which I
    always answered “Yes”, as seen in their evidence against me marked “Exhibit 9” below)

    My argument is, first, the employer must prove such an offense has taken place that warrants a
    permanent removal from the workplace. Second, while the employer investigates said offenses,
    I must be informed of the investigation, allowed to give evidence to my innocence and
    suspended from the workplace while the claims are investigated.

    Wallet Thief Example (immediately terminable offense)

    As an example of this, an “immediately terminable offense” would be stealing a wallet from a
    patient. While this is grounds for immediate termination of employment, the employer must
    FIRST inform the suspected wallet thief that they will be removed from the work environment
    while they are being investigated and state why they will be investigated. The suspected wallet
    thief can then give an account of their position on the matter so that the investigators can move
    forward with all necessary accounts of the potential offense.

    The suspected wallet thief, after being informed of the charges against them and giving their
    account of their position, would be removed from the workplace, as to not tamper with the
    investigation nor have the ability to intimidate/manipulate witnesses.

    Should the suspected wallet thief inform the investigators that the wallet was placed under the
    patient’s mattress, being suspended pending an investigation, the investigators would have the
    unobstructed ability to verify whether the information given was true or false without
    interference by the suspected individual. If it is now proven that the suspected wallet thief in
    fact placed the wallet under the patient’s mattress, the vindicated employee is returned to work


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     with full pay for time missed during the investigative process.

     Continuation of policy regarding suspension, pending investigation and review

     Had R. Pegram been removed from the workplace according to MHS Policy on suspension,
     pending investigation and review, such policy would have protected me from retaliation and any
     covert investigations to terminate my employment without a resolution to my grievance.

     I, Willie Lee HavMmeri, did not find out I was being investigated for stealing time until the day of
     my termination and the letter was pre-written. (See exhibit 2 below). This is a clear violation of
     MHS policy on this matter. Furthermore, having given clear explanations as to my accounts of
     the terminable offenses levied against me on the day of termination (April 10th 2020), I should
     have been afforded the opportunity to be suspended, pending a thorough investigation while
     the new information I gave was investigated.

Wrongful Termination
     MHS Evidence of grounds for termination (presented on April 10th 2020)

     Disclaimer: I would like to state that it is rather impossible given my position for me to
     effectively “steal time” in the manner in question. The nature of my job (EKG/Stress Tech) was
     that I had to ALWAYS be ready at a moment’s notice to perform cardiac procedures that were
     detrimental to patient health and safety. As an example, a STAT heart procedure (immediate
     medical procedure and one of my responsibilities) had to be performed in no longer than 10
     minutes after ordering. A “Code Blue” (cardiac emergency in the hospital) could happen at any
     given time in any given location of the various hospital buildings (including the hospital gym) and
     required immediate intervention (also one of my primary responsibilities).

     With that said, there is NO WAY I could leave my work environment and either go home (30-
     minute drive away) nor be inaccessible with such an important patient care responsibility, as I
     was the only person who could do my job at any given time.

     I had a work phone (which only worked on the hospital grounds) and a work pager (for Code
     Blues and STAT procedures) and could never be more than 10 minutes away from any given
     patient on the MHS Campus.

     For the record, before my termination on April 10th 2020, I had never been disciplined nor
     accused of being late or absent from providing patient care in my job role.

     a. Observed at home while on the clock March 31st 2020
     I showed clear and irrefutable evidence that I did not go home as reported on my termination
     letter on the day of March 31st 2020 while continuing to be on the work clock. Methodist
     presented me with an 8x10 print out picture of my offense, complete with the social media
     caption. Since the date was so close to my termination, I showed the HR Directors (V. Marks
     and W. Wilson) the unedited picture in my phone, which they both verified was the photo in

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     question. I then showed them the meta data on the photo, complete with the actual date it was
     taken and informed them I simply posted the picture on my social media while I was at work.
     The evidence has been so irrefutable that in the evidence packets presented by MHS legal teams
     for the Texas Workforce Commission (TWC) and the EEOC, Methodist has abandoned their
     social media picture evidence which was presented on the day of my termination as proof.

     {Note: Despite no new evidence to support this claim, MHS has maintained this claim as justified
     and grounds for termination.}

     b. Frequenting the hospital gym without Director’s knowledge
     I maintain that I only frequented the hospital’s gym (Folsom Fitness Center) on my breaks and
     lunches, which were taken at my own discretion and was known throughout my department by
     staff and my immediate supervisor, Director R. Pegram. I had a membership at the hospital gym
     for 5 years prior to my termination and had openly used the gym on breaks and lunches the
     entire 5 years with several directors, supervisors and staff coworkers being fully aware. While
     MHS Acting Lead Investigator (V. Marks) maintains that the evidence shows I was observed in
     the hospital gym over an hour, each offense listed, no evidence has ever been shown to support
     their claim.

     Furthermore, the TWC determined that according to Texas Employment Law (See. Exhibit 6
     below), even if I as an employee was guilty of the offenses levied against me for frequenting the
     hospital gym, too much time had passed between the offenses for them to be a sufficient cause
     for termination of employment. (Offenses listed on termination letter were from October 2019
     until January/February 2020). I was fired on April 10th 2020.
     The TWC mediator further stated in her position statement to reverse the unemployment denial
     that, based on the evidence, the timing of my initial grievance and the dates associated with the
     investigation that led to my termination, it would be reasonable to assume that there were
     more factors that led to my termination than what was alleged on my termination letter and
     presented as evidence to back up the claims. (Again, see Exhibit 6)

     MHS did not appeal the decision.

MHS Investigation which led to my termination
     (March 29th 2020 until April 10th 2020)

     Acting Lead Investigator (V. Marks) stated on record to the TWC (Audio hearing evidence to be
     presented at a later date) that she started her investigation which led to my termination on
     March 29th 2020.

     Let the record show that March 29th 2020 was a Sunday, a day V. Marks does not regularly work.

     V. Marks received an email from the employee I accused in my initial grievance of the workplace
     violence on March 29th 2020 (a Sunday).

     At the time, I had never met V. Marks, the investigator, nor had I access to her work email
     address. I was not even made aware that she would be leading any investigation, while I was

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        the party who reported the workplace violence to my immediate supervisor, Director R. Pegram
        (Evidence 1 below).

        Evidence shows that Acting Investigator V. Marks inquired with the hospital’s gym staff (Folsom
        Fitness Center) about my times badging into the gym on April 3rd 2020. (Evidence 7 below). I
        had still never met nor heard of V. Marks at this time.

        All character witness statements from my work department were taken along with emails being
        sent to V. Marks BEFORE anyone sat down to discuss my allegations against the department.
        (evidence to be presented later or at the judge’s request for proof before trial).

        I maintain that no one talked to me about my version of the workplace violence until April 7th
        2020, following R. Pegram summoning me to HR to meet with the parties I requested to lead my
        investigation. This is evidenced by my follow up email to V. Marks on April 7th 2020 subjected
        “Workplace/Gender Discrimination” (Evidence 8 below) which specifically asked that no women
        in my work environment be disciplined and that we all receive additional training or that I be
        reassigned to another area for a peaceful resolution of the issues I was facing regarding bullying,
        gossip, being cursed out and threatened repeatedly for termination.

        In my follow up email (Exhibit 8), it is clear that I had no idea I was the subject of an
        investigation for effectively stealing time and had I known, I would have presented the evidence
        I presented on my termination date at that very time.



My Conclusion
        It is clear, to me, that over the course of 31 days (March 10th 2020 until April 10th 2020) after
experiencing workplace violence and reporting it to my immediate supervisor as a long history of toxic
behavior (with herself included), I was in turn investigated and subsequently fired for offenses that I
refuted and still refute till this very day.

I followed company policy regarding “chain of command” and waited patiently from the time of my
initial grievance until it’s conclusion could be reached to see justice administered.

For the matters of this case, I challenge Methodist and its legal team to produce an Incident Report with
my signature regarding my initial grievance on March 17th 2020 because this was required, according to
policy and I personally know there is no such Incident Report.

I believe myself to be a WHISTLEBLOWER with the federal and state protections associated with such a
precarious position. I tried to expose DISCRIMINATION BASED ON SEX/GENDER and was ultimately
fired on the testimonies of the very people I sought to expose. Imagine that.

I attempted to blow the whistle on shady financial practices in the Cardiology Department regarding
maintaining 3 workers in a 2 person workspace and the allotment of additional hours based on gender
which is textbook Gender Discrimination.

I believe that because neither my Director nor myself were suspended, pending investigation and
review, that BOTH investigations were subsequently tainted. My investigation into my Director was

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tainted because she never allowed me to speak with the parties I requested (my Director handpicked
the Lead Investigator V. Marks) and the investigation into the terminable offenses levied at me was
tainted because I was never made aware of the investigation and never given a chance to formally
refute the charges.

Because of ALL LISTED ABOVE and the EVIDENCE BELOW:

I believe my cause is JUST and seek SUBSTANTIAL compensation for my loss of wages, loss of health
insurance, humiliation, defamation of character, mental anguish, pain and suffering and a litany of very
unfortunate circumstances that I have pleaded with MHS repeatedly over the last 2 and a half years to
help me resolve due to my lack of the ability to earn and my removal from the company.

After all, who would want to hire a man that’s been fired for stealing time and now frightened to work
around women?

I am armed with 100s of pages of documents.

I have over 5 hours of audio from V. Marks, R. Pegram, W. Wilson and myself originating from MHS
depositions during the Texas Workforce Commission Unemployment Appeal Hearing.

I am preparing to request all my email history from the time employed with MHS, which along with my
100s of pages of documents and 5 hours of audio depositions will completely exonerate me.

Thank you to all in advance who must read these passionate rambles of a broken man…

Peace and love to ALL parties involved and may justice prevail.



Respectfully submitted,

By: _____/s/ Willie HavMmeri_________

Willie Lee HavMmeri, self-represented “Pro se”
godcolored@gmail.com
(214) 600-6207




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                                             Certificate of Conference

I would like to state that I did in fact contact MHS Legal Rep (J. Barcus) regarding a resolution to this
matter outside of the confines of court through mediation and settlement. Mr. Barcus was very
courteous in explaining to me his intentions for filing a more definitive statement and I would like to
formally apologize for my lack of follow up, as I was a bit intimidated (not being a legal expert) and did
not want to say or send the wrong message. Again, I offer Mr. Barcus my apologies, it was not my
intentions to leave his request unanswered.

I would also like to state that I have taken it upon myself to contact MHS Legal Rep (J. Barcus) regarding
5 particular orders that I was preparing to submit to the court for his review and consideration
beforehand. The date of the email contacting Mr. Barcus was October 6th 2022 and the PDF was entitled
“What was my Grievance”. My email was not replied to. I understand why that was the case. On the
day I went to court to file this petition for 5 orders, I learned that the judge has approved his request for
a more definitive statement (which I have addressed above). I would like to inform all parties that I will
send in those potential orders for the court’s consideration shortly after this document is submitted to
the records by the clerks.



Submitted by, /s/ Willie HavMmeri




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                            Exhibit 1 (Marked Article 1, pages 1-3)




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Exhibit 2 (Methodist Termination Letter, with evidence included with edit)




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Exhibit 3 (Marked on document as “Article 11 & Article 12”)




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Exhibit 4 (Marked Fraud and Abuse Policy)




Exhibit 5 (Marked 34-A Performance Conduct)




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Exhibit 6 (the entire exhibit Starting with Appeal No. 243-CA-76)




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Exhibit 7 (Marked 28-A)




Exhibit 8 (Marked “Article 3)




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Exhibit 9: Only financial question is “did you have a lunch” and the answer was always “YES”




Exhibit 10: Picture of the 2 person workspace, my assigned workstation has the pictures of my family
above on my locker and is stationed to the left)




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Exhibit 11: proof I was not at home on March 31st 2020, as stated on my pre-written termination letter




Exhibit 12: Proof my Director was, in fact, aware that I frequented the Hospital Gym
(a point at which she denied on the TWC audio and is mentioned to be unaware of on my Termination
Letter)




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Exhibit 13: Unedited Termination Letter, front & back
(Despite my evidence of my innocence, I was told by V.Marks that I was observed at the Hospital Gym
over an hour “EACH TIME” and my Director remained very much unaware that I ever used the gym over
the years. It has now been over 2 years since my termination and after numerous court proceedings, I have
yet to see this evidence of being observed for over an hour from each occurrence.)




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